                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     at WINCHESTER

UNITED STATES OF AMERICA                             )
                                                     )      Case No. 4:17-cr-20-HSM-SKL
                                                     )
v.                                                   )
                                                     )
                                                     )
CHRISTOPHER JONES                                    )


                                           ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the eighteen-

count Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count

One of the Indictment, that is of conspiracy to distribute 28 grams or more of a mixture and

substance containing cocaine base, (“crack”), a Schedule II controlled substance, in violation of

21 U.S.C. §§ 846 and 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser offense of the

charge in Count One of the Indictment, that is of conspiracy to distribute 28 grams or more of a

mixture and substance containing cocaine base, (“crack”), a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (4) defer a decision on whether to accept the plea

agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

matter [Doc. 52]. Neither party filed a timely objection to the report and recommendation. After

reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

recommendation [Doc. 52] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;




Case 4:17-cr-00020-TRM-SKL          Document 60 Filed 11/13/17             Page 1 of 2     PageID
                                          #: 176
      (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

            Indictment, that is of conspiracy to distribute 28 grams or more of a mixture and

            substance containing cocaine base, (“crack”), a Schedule II controlled substance,

            in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in

            Count One of the Indictment, that is of conspiracy to distribute 28 grams or more

            of a mixture and substance containing cocaine base, (“crack”), a Schedule II

            controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until

            sentencing; and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on February 12, 2018 at 9:00 a.m. [EASTERN] before

            the Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                        /s/ Harry S. Mattice, Jr._______
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




                                            2




Case 4:17-cr-00020-TRM-SKL       Document 60 Filed 11/13/17           Page 2 of 2      PageID
                                       #: 177
